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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.: 20-21300-CV-MARTINEZ

  RAUL QUINTANA,

         Plaintiff,

  v.

  TRANSPORTATION AMERICA, INC.,
  LIMOUSINES OF SOUTH
  FLORIDA, INC., et al.,

        Defendants.
  ___________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         THE MATTER was referred to the Honorable Alicia M. Otazo-Reyes, United States
  Magistrate Judge for a Report and Recommendation (“R&R”) on Defendants’ Motion to Compel
  Arbitration (DE 14). Magistrate Judge Otazo-Reyes filed an R&R recommending that Defendants’
  Motion to Compel Arbitration be granted. (DE 38). Neither party filed objections. The Court
  having reviewed the R&R and record in this case de novo, it is hereby
         ORDERED AND ADJUDGED that United States Magistrate Judge Otazo-Reyes’ Report
  and Recommendation (DE 38) is AFFIRMED and ADOPTED. Defendants’ Motion to Compel
  Arbitration (DE 10) is GRANTED. This matter shall be STAYED pending arbitration and the
  Clerk is directed to mark this case administratively CLOSED.
         DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of October, 2020.

                                                     ____________________________________
                                                     JOSE E. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE
